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                     IN THE UNITED STATES DISTRICT COURT
                     FOR THE SOUTHERN DISTRICT OF TEXAS
                               HOUSTON DIVISION


FEDERAL TRADE COMMISSION,

               Plaintiff,                  REDACTED PUBLIC VERSION

          v.                               Case No.: 4:23-CV-03560-KH

U.S. ANESTHESIA PARTNERS, INC. et al.      ORAL ARGUMENT REQUESTED

               Defendants.



                 DEFENDANT U.S. ANESTHESIA PARTNERS, INC.’S
                  MOTION TO DISMISS THE FTC’S COMPLAINT
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                                       INTRODUCTION

       The Federal Trade Commission’s lawsuit against U.S. Anesthesia Partners, Inc. threatens

the ability of a leading physician-owned anesthesiology practice to continue to provide high

quality service to Texas hospitals and other healthcare facilities. Individual hospitals and

hospital systems decide who can practice at their facilities, and many hospitals in Houston and

Dallas have determined that USAP will provide the best care for their patients—particularly

those in underserved communities. By partnering with USAP, hospital systems secure 24/7

coverage for all procedures across multiple sites, whether their patients have commercial or

government sponsored insurance (such as Medicare or Medicaid), or no ability to pay. And

competition for these hospital partnerships is fierce. But despite this competition, the FTC now

objects to local hospitals’ decisions about how best to provide quality care to their patients. With

this lawsuit, the FTC seeks to skew the market for anesthesiology services, placing its thumb on

the scale to support the nation’s wealthiest and most powerful commercial insurance companies.

       The FTC’s misguided litigation effort reflects an ever-expanding sense of its own

authority. Its lawsuit not only suffers from the constitutional infirmities raised by Welsh Carson

in its motion to dismiss (which USAP hereby joins and incorporates by reference), but also

ignores clear limits that Congress imposed when authorizing the FTC to come into federal court.

And besides proceeding ultra vires, the FTC brings claims that would improperly remake

antitrust law in multiple respects. For the reasons explained further below, the complaint is

fatally defective and should be dismissed.

       The FTC Lacks Statutory Authority To Maintain This Suit. Section 13(b) of the FTC

Act, 15- U.S.C. § 53(b), is the sole source of authority the FTC invokes to bring this case. See

Compl. ¶¶ 18-19. That statute authorizes the FTC to proceed in federal district court only when

doing so would aid parallel proceedings in the FTC’s own administrative court. Congress
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enacted Section 13(b) in 1973 to address a specific problem: Because the FTC’s administrative

process could take years, the FTC needed a mechanism to halt ongoing or imminent violations of

law in the interim. Section 13(b) provides that mechanism. But it does not provide a substitute

for the FTC’s administrative process. Indeed, just two years ago, the Supreme Court held that

Congress “could not have . . . inten[ded]” the FTC “to use § 13(b) as a substitute for” its own

internal administrative procedure. AMG Cap. Mgmt., LLC v. FTC, 141 S. Ct. 1341, 1349 (2021).

Section 13(b) gives the FTC no power to bring a permanent injunction action in district court

where, as here, it has bypassed its own administrative process. See infra Part I.A.

       Section 13(b) also focuses narrowly on empowering the FTC to stop ongoing or

imminent legal violations. It does not authorize the FTC to sue in federal court to remedy past

conduct. Yet the FTC challenges acquisitions that closed, and contracts that expired, years ago.

The FTC contends that USAP’s continued ownership of anesthesiology practices acquired

almost a decade ago constitutes an ongoing violation of the antitrust laws, but that is contrary to

authority: Completed acquisitions are not ongoing violations. Here too, the FTC’s attempt to

challenge past conduct is at war with the plain text of Section 13(b). See infra Part I.B.

       The FTC Has Not Alleged A Plausible Relevant Market. On the merits, the FTC’s

antitrust claims depend on a market defined to exclude readily substitutable services. The FTC

alleges that there is a unique market for “commercially insured hospital-only anesthesia

services,” but it fails to support this illogical line drawing with any factual allegations justifying

those arbitrary boundaries. Moreover, the FTC’s proposed market clearly excludes reasonably

interchangeable substitutes—most obviously, anesthesiology performed in ambulatory surgical

centers—and therefore represents an attempt to “gerrymander its way to an antitrust victory




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without due regard for market realities.” It’s My Party, Inc. v. Live Nation, Inc., 811 F.3d 676,

683 (4th Cir. 2016). That, too, requires dismissal. See infra Part II.A.

       The FTC Has Not Plausibly Alleged That USAP Has Monopoly Power. Even crediting

the FTC’s gerrymandered market definition, its monopolization claims fail because the FTC does

not allege that USAP has charged or has the power to charge a supracompetitive price—i.e.,

monopoly power. The complaint never alleges that USAP raised rates above the competitive

level in any alleged market; indeed, the FTC takes no steps to analyze competitive market

pricing at all. Instead, the FTC’s own allegations prove that USAP cannot charge rates higher

than those set by competitive market negotiation before USAP even entered the market. Were

there any doubt, recent legislation subjecting out-of-network anesthesiologists’ rates to

mandatory arbitration now effectively prevents any provider from charging supracompetitive

rates. The absence of any plausible factual basis for a claim of monopoly power is likewise fatal

to the FTC’s monopolization theory. See infra Part II.B.

       The FTC Has Not Plausibly Alleged Exclusionary Conduct. The FTC’s Section 2

claims require it to advance plausible allegations of exclusionary conduct. But the acquisitions

on which the FTC relies are not alone sufficient; acquisitions often increase competition and

therefore support no presumption of anticompetitive harm. Moreover, exclusionary conduct

“must harm the competitive process and thereby harm consumers.” Rambus, Inc. v. FTC, 522

F.3d 456, 463 (D.C. Cir. 2008). But because USAP’s rates were set by its predecessor without

monopoly power, the FTC has failed to allege any price increase above the competitive level,

and the FTC makes no other claim of consumer harm. See infra Part II.C.

       The FTC Has Not Alleged A Plausible Violation of the Clayton Act. The FTC’s claims

under Section 7 of the Clayton Act require it to allege a probability of anticompetitive results




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flowing from the challenged acquisitions. Not only was there no such probability, but here, the

acquisitions are long since past, and the FTC points to no anticompetitive results that have

actually materialized. See infra Part II.D.

        The FTC Has Not Alleged A Plausible Agreement To Fix Prices. The FTC also seeks

to attack USAP’s practice of handling administrative-billing and payor-relations functions on

behalf of three small anesthesiology practices by contorting these separate administrative

services agreements into a Section 1 “price-fixing” claim. That claim fails for the simple reason

that the complaint does not allege an agreement among competitors to fix prices. Rather, the

complaint alleges that USAP’s administrative services clients assigned it their right to payment

from insurers in exchange for compensation at rates other than USAP’s. Even as alleged, that

bargain bears no resemblance to price fixing, and those claims should be dismissed. See infra

Part II.E.

        No Other Claim Survives. The FTC’s remaining claims fail as well. The FTC’s

conspiracy claims require dismissal because, for the reasons Welsh Carson explains in its

motion, USAP and Welsh Carson are legally incapable of conspiring under Copperweld Corp. v.

Independence Tube Corp., 467 U.S. 752, 770-71 (1984). And because the FTC’s “unfair method

of competition” claims under Section 5 of the FTC Act merely duplicate its theories under the

Sherman and Clayton Acts, those claims cannot survive either. See infra Part II.F.

        For all these reasons, the complaint should be dismissed in its entirety.




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                                         BACKGROUND1

       USAP is a physician-owned organization that provides anesthesia and pain management

services to patients throughout Texas. See Compl. ¶¶ 21, 302. USAP did not exist until 2012,

when it acquired a preexisting, standalone practice called Greater Houston Anesthesiology, or

GHA. See id. ¶¶ 21, 95. For the last 11 years, USAP providers have cared for patients across

Texas in both inpatient and outpatient facilities, no matter the patients’ insurance status or ability

to pay. See id. ¶¶ 3, 57. Besides caring for patients, USAP also provides certain administrative

services. See id. ¶ 176. The FTC does not question or challenge the quality of the services

USAP provides to patients, hospitals, or other anesthesiology practices.

       A.      Anesthesia Providers Work Both In And Out of Hospitals And Negotiate
               Rates Directly With Insurance Companies

       “Anesthesia is a type of medical treatment that prevents patients from feeling pain during

procedures such as surgery or dental work.” Compl. ¶ 41. Physician anesthesiologists and

certified registered nurse anesthetists, or CRNAs, are qualified to practice anesthesiology. See

id. ¶¶ 43-44. These providers can render anesthesia services “in several healthcare facility

settings” throughout Texas, “including hospitals, outpatient surgery centers, ambulatory surgical

centers, and doctors’ offices.” Id. ¶¶ 45, 47. Inpatient anesthesia services “may be performed by

the same providers” who work in outpatient settings, and the same services are provided without

regard to the payor. Id. ¶ 222. Yet the FTC’s claims are limited to (a) “hospital-only anesthesia

services sold to commercial insurers” that are (b) performed in the Houston, Dallas, and Austin,

Texas metropolitan areas. See id. ¶¶ 216, 235.




       1
         Although USAP disputes many of the facts alleged in the FTC’s complaint, the factual
allegations described below are from the complaint and are taken as true for this motion. See
Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009).


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        To guarantee the availability of “hospital-only anesthesia services,” hospitals often

choose to partner exclusively with “independent anesthesiologists or anesthesia groups, such as

USAP.” Id. ¶¶ 52-53. Hospitals benefit from these contractual agreements as they help secure

coverage for the “entire facility . . . on a 24/7 basis,” including “overnight or during other off-

peak hours.” Id. ¶¶ 53-54. These arrangements also “help guarantee treatment for less lucrative

patients by ensuring 24/7 coverage.” Id.

        While “[a]nesthesia groups often compete for exclusive hospital contracts,” these

contracts are “not always lucrative.” Id. ¶¶ 55, 57. That is in part because the group must “staff

the hospital around the clock,” which requires having providers “cover long shifts and overnight

call.” Id. ¶¶ 56, 224. And it is also because hospitals may treat many patients who have

“government insurance,” such as Medicare or Medicaid, or no insurance at all. Id.

Anesthesiologists “receive significantly higher reimbursement rates for services sold to

commercial plans compared to” government insurance, so staffing a hospital with more

government-insured patients is less lucrative to anesthesia groups. Id. ¶ 233. Moreover,

hospitals serve patients that may be “uninsured or under-insured,” further lowering the chances

that the anesthesia group will be paid in full or at all. Id. ¶ 57.

        Given these challenges, hospitals often provide subsidies to encourage anesthesia practice

groups to enter into exclusive partnerships under which the group commits to providing

comprehensive coverage “on a 24/7 basis.” Id. ¶¶ 53, 57. The FTC alleges that hospitals benefit

from anesthesia groups that take “a lower subsidy” and instead rely on alternative revenue

streams—namely, the payments they receive from insurance companies for the anesthesia

services they provide. Id. ¶ 299.




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        In Texas, “the four largest insurers” are “Aetna, Blue Cross Blue Shield of Texas, Cigna,

and United.” Id. ¶ 66. For context, while the complaint alleges that USAP generated $

in revenue nationwide in 2021, see id. ¶ 21, UnitedHealth Group Inc. and The Cigna Group

respectively reported generating $287.5 billion2 and $174.1 billion3 in revenue that same year.

        The rates at which anesthesia groups are compensated for their services differ depending

on whether the payor is a government or commercial insurer. Government insurers reimburse

anesthesia groups at set rates tied to government fee schedules. See id. ¶ 233. In contrast,

anesthesia groups and commercial insurers can directly negotiate reimbursement rates. See id.

¶ 65. As a first step, the anesthesia groups and commercial insurers negotiate whether the group

will be included in the insurer’s “network” of providers. See id. ¶¶ 61-62. In exchange for being

part of the insurer’s “network,” anesthesia groups offer to give insurers “a discount off the total

amount [they] charge” for their services. Id. The agreed-upon rates and “network status” are

reflected in contracts between the providers and the insurers. If the providers and insurers do not

form such an agreement, the anesthesia group is considered “out of network.” Id. ¶ 61. Out-of-

network providers used to be able to bill at higher rates, but the law has recently changed such

that this is no longer the case.4




        2
         See UnitedHealth Group Inc., Annual Report (Form 10-K) at 29 (Feb. 24, 2023), https://
tinyurl.com/3mudvzt8. The court may take judicial notice of a Form 10-K filing and its contents
at the motion to dismiss stage. See Basic Cap. Mgmt., Inc. v. Dynex Cap., Inc., 976 F.3d 585,
589 (5th Cir. 2020); see Fed. R. Evid. 201(b), (d).
        3
       See The Cigna Group, Annual Report (Form 10-K) at 53 (Feb. 23, 2023), https://tinyurl.
com/b4u8ajrm.
        4
         See Compl. ¶ 74 n.5. Under recent state and federal legislation (the latter known
generally as the No Surprises Act), “out-of-network anesthesiologists must obtain payment
through costly and uncertain arbitration.” Id. ¶ 72.



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       B.      USAP Inherited Reimbursement Rates That Had Been Negotiated Between
               Commercial Insurers And GHA

       The FTC focuses much of its attention on the rates at which USAP’s anesthesiologists are

reimbursed. See, e.g., Compl. ¶ 5. Many of these rates were established before USAP itself was

formed. They trace back to long-term agreements between commercial insurers and GHA,

which USAP acquired upon its formation in 2012. At the time of its acquisition, GHA was

“well-positioned” with the four hospital systems in Houston that “performed almost 65% of all

inpatient surgeries in Houston.” Id. ¶ 89. GHA’s 220 physicians and 180 CRNAs, see id. ¶ 95,

handled around 39% of hospital-based anesthesia cases in Houston, id. ¶ 266 tbl. 1. The FTC

does not allege that GHA had monopoly power before USAP acquired it.

       In acquiring GHA, USAP inherited GHA’s contracts with commercial insurance

companies—contracts that established, for example, GHA’s in-network status and

reimbursement rates. See id. ¶¶ 60-64 (describing the process of setting reimbursement rates for

health care providers); see id. ¶ 90 (alleging one consultant’s analysis of GHA’s then-existing

reimbursement rates with commercial payors). GHA’s pre-acquisition negotiations with

commercial insurers “achieved very good levels of reimbursement from commercial payers.” Id.

¶ 90. The FTC does not allege that these rates were supracompetitive or that GHA had

monopoly power when it negotiated these rates.

       GHA’s legacy contracts generally established that if GHA acquired another practice, the

insurer would reimburse the newly acquired physicians for their services at GHA’s pre-existing,

contractually agreed upon rates. See, e.g., id. ¶ 151. USAP negotiated with certain insurers to

modify these legacy contracts, clarifying, for example, that the GHA rates would not apply right

away but would, instead, start applying              after the acquisitions. See id. ¶ 153. The




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FTC refers to these provisions as “tuck-in” clauses. Id. The FTC does not allege that these

clauses deviated from market norms or were otherwise unique to GHA.

        C.     USAP Expanded Its Provision Of High-Quality Anesthesia Services Within
               And Outside Of Houston

        After acquiring GHA, USAP sought to grow its business and to improve the quality of

anesthesia services offered across the State of Texas. The complaint alleges that USAP made the

following acquisitions:

 Year                  Practice                       Total            Location         Complaint
                                                    Providers                            Citation
 2013       Lake Travis Anesthesiology            “small group”         Austin            ¶ 161
 2014     Pinnacle Anesthesia Consultants              537               Dallas           ¶ 127
 2014     North Houston Anesthesiology—                 30              Houston           ¶ 103
                 Kingwood Division
 2015     Anesthesia Consultants of Dallas               50              Dallas            ¶ 130
 2015      Excel Anesthesia Consultants                  74              Dallas            ¶ 134
 2015     Southwest Anesthesia Associates            Not alleged         Dallas            ¶ 139
 2016          BMW Anesthesiology                         9              Dallas            ¶ 141
 2016         Medical City Physicians                     7              Dallas            ¶ 141
 2016           Sundance Anesthesia                      31              Dallas            ¶ 144
 2016        East Texas Anesthesiology                   34              Tyler             ¶ 157
                     Associates
 2017       MetroWest Anesthesia Care                   130             Houston            ¶ 108
 2018    Capitol Anesthesiology Association             232              Austin            ¶ 160
 2018     Amarillo Anesthesia Consultants               20             Amarillo            ¶ 165
 2019              Star Anesthesia                      194           San Antonio          ¶ 169
 2020      Guardian Anesthesia Services                  77             Houston            ¶ 112

        Even though GHA’s contracts with many commercial insurers authorized USAP to bill

the newly acquired practitioners at GHA’s negotiated rates, see id. ¶ 151, the insurers did not

always honor those prior agreements. Instead, the insurers started “push[ing] back” on the very

rates they had agreed to before, leading to “protracted negotiations” that “lasted months or

years.” Id. ¶ 152. For example, when USAP acquired Pinnacle—an anesthesia practice in

Dallas—one insurer refused to recognize the agreed-upon GHA rates, and instead “opted to treat

the former Pinnacle (now USAP) anesthesia providers as out of network.” Id. ¶ 128. It took


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nearly two years to resolve that dispute, with USAP ultimately agreeing to a lower

reimbursement rate than the legacy rate from GHA. See id. ¶¶ 128, 152.

       Commercial insurers have continued to force USAP to accept lower rates over time. See

id. ¶¶ 316-318. For example, in 2020, United sought to “unilaterally amend[ ] the United-USAP

contract to reduce USAP’s rates.” Id. ¶ 316. As USAP could not agree to the size of the rate

reductions, United’s demand temporarily forced USAP out of network. After eighteen months,

United secured a new contract with USAP under which “USAP’s rates decreased.” Id. ¶ 318.

       D.      USAP Inherited And Executed Ancillary Agreements In Connection With
               Certain Acquisitions

       The FTC also challenges certain agreements that USAP either inherited or executed

between 2012 and 2014 that are separate from its provision of anesthesia services.

       First, the FTC alleges that USAP has been party to three administrative services

agreements.5 Under these agreements, USAP agreed to perform back-office functions such as

payor relations and billing on behalf of a group of physicians. See id. ¶¶ 176, 184. USAP

“bill[s] payors for the anesthesia services rendered by” client provider groups “using USAP’s

own provider or tax information.” Id. ¶ 176. USAP then collects the payments from insurers

and other payors, remitting to the non-USAP physicians what they are owed while keeping

“some portion” of the collected payment as compensation for the administrative services it has

performed. Id. ¶ 176; see also ¶¶ 196, 203 (discussing these mechanisms in similar agreements).

       Of the administrative services agreements the FTC challenges, USAP inherited two of

them from practices it had acquired—in 2012, USAP became party to its predecessor GHA’s



       5
         The complaint also alleges that USAP attempted to enter into a fourth administrative
services agreement with physicians at the University of Texas in 2014 and again in 2020, but an
agreement was never reached. See Compl. ¶¶ 204-207.


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contract with The Methodist Hospital Physicians Organization, see id. ¶ 183; and in 2014, USAP

inherited Pinnacle’s contract with the Baylor University Medical Center. See id. ¶ 192. USAP

itself entered into the third challenged agreement with the Baylor College of Medicine in 2014.

See id. ¶ 201. Notably, that latest agreement “was terminated” in 2020. Id. ¶ 203. The FTC

nowhere alleges that any of these agreements were materially significant.

       Second, the FTC alleges that USAP negotiated a

                              in connection with the sale of an anesthesia practice. See id. ¶ 410.

                                             . See id. ¶ 214.

                                       LEGAL STANDARD

       “Federal Rule of Civil Procedure 12(b)(6) requires that a plaintiff plead facts sufficient to

state a plausible cause of action.” Collins v. Midland Mortg., 2022 WL 16556810, at *1 (S.D.

Tex. Oct. 31, 2022) (citing Bell Atl. Corp. v. Twombly, 550 U.S. 544, 570 (2007)). “In deciding

a Rule 12(b)(6) motion to dismiss for failure to state a claim, the court ‘accepts all well-pleaded

facts as true, viewing them in the light most favorable to the [nonmovant].’ ” Id. (alteration in

original) (quoting In re Katrina Canal Breaches Litig., 495 F.3d 191, 205 (5th Cir. 2007)).

“Even so, ‘a plaintiff’s obligation to provide the ‘grounds’ of his ‘entitle[ment] to relief ’

requires more than labels and conclusions, and a formulaic recitation of the elements of a cause

of action will not do.’ ” Id. (alteration in original) (quoting Twombly, 550 U.S. at 555).

                                           ARGUMENT

I.     THE FTC LACKS AUTHORITY TO SEEK INJUNCTIVE RELIEF
       UNTETHERED FROM AN ADMINISTRATIVE PROCEEDING AND FOR
       LONG-PAST CONDUCT

       The FTC invokes Section 13(b) of the FTC Act, 15 U.S.C. § 53(b), as its sole source of

authority to bring this suit in federal district court, see Compl. ¶¶ 18-19. For two independent

reasons, the FTC’s complaint exceeds its statutory authority: First, Section 13(b) authorizes the


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FTC to proceed in federal court only to support enforcement proceedings in its own

administrative forum, but the FTC has instituted no such proceedings and apparently intends to

litigate only in this Court. When the FTC seeks to follow the statute by moving only for

preliminary relief, it does so expressly and then promptly files an administrative complaint—it

has not done so here. Second, Section 13(b) authorizes only injunctions to halt ongoing or

imminent anticompetitive conduct, but the FTC complains about past acquisitions and

agreements that are no longer operative. The FTC is a creature of statute, and possesses only

those powers Congress has given to it. See Louisiana Pub. Serv. Comm’n v. FCC, 476 U.S. 355,

374 (1986). Because Congress did not grant the FTC the authority it claims here, the case should

be dismissed.

       A.       Section 13(b) Bars The FTC From Seeking Injunctive Relief Independent Of
                Administrative Proceedings

                1.      The Statute Does Not Permit An Independent Federal Court Action

       In Section 13(b), which is titled “Temporary restraining orders; preliminary injunctions,”

Congress granted the FTC limited authority to seek injunctive relief in federal district court

“while administrative proceedings are foreseen or in progress.” AMG Cap., 141 S. Ct. at 1349.

Section 13(b) states:

                Temporary restraining orders; preliminary injunctions
                Whenever the Commission has reason to believe—
                (1) that any person, partnership, or corporation is violating, or is
                about to violate, any provision of law enforced by the Federal Trade
                Commission, and
                (2) that the enjoining thereof pending the issuance of a complaint by
                the Commission and until such complaint is dismissed by the
                Commission or set aside by the court on review, or until the order
                of the Commission made thereon has become final, would be in the
                interest of the public—
                the Commission by any of its attorneys designated by it for such
                purpose may bring suit in a district court of the United States to


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               enjoin any such act or practice. Upon a proper showing that,
               weighing the equities and considering the Commission’s likelihood
               of ultimate success, such action would be in the public interest, and
               after notice to the defendant, a temporary restraining order or a
               preliminary injunction may be granted without bond: Provided,
               however, That if a complaint is not filed within such period (not
               exceeding 20 days) as may be specified by the court after issuance
               of the temporary restraining order or preliminary injunction, the
               order or injunction shall be dissolved by the court and be of no
               further force and effect: Provided further, That in proper cases the
               Commission may seek, and after proper proof, the court may issue,
               a permanent injunction. . . .

       Before Congress enacted Section 13(b), the FTC had no authority to seek a court-ordered

injunction to halt ongoing or imminent violations. See AMG Cap., 141 S. Ct. at 1346. Congress

enacted Section 13(b) to “address[ ] a specific problem, namely, that of stopping seemingly

unfair practices from taking place while the Commission determines their lawfulness” in parallel

administrative proceedings. AMG Cap., 141 S. Ct. at 1348.

       By its plain terms, Section 13(b) requires the FTC to proceed administratively. It can

proceed here only “pending the issuance of a complaint by the Commission.” 6 Section 13(b)’s

first proviso (the clause that begins, “Provided, however”) confirms that any injunction obtained

here “shall be dissolved” if the FTC does not bring an administrative proceeding within twenty

days of getting the injunction. So while Section 13(b) lets the FTC seek injunctive relief in court

to aid its administrative proceedings, those administrative proceedings are a necessary predicate.

The FTC cannot simply choose to litigate its antitrust claims in federal court.




       6
         “Complaint” here means an administrative complaint issued by the FTC under Section
5(b), 15 U.S.C. § 45(b). Section 13(b) provides for preliminary injunctive relief “pending the
issuance of a complaint” and “until such complaint is dismissed by the [FTC] or set aside by the
court on review, or until the order of the [FTC] made thereon has become final,” which is a clear
reference to the FTC’s administrative adjudication procedures, see 15 U.S.C. § 45(b), (c).


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       The FTC’s authority to seek a permanent injunction under Section 13(b) is also tied to

administrative proceedings and not a warrant for independent federal court litigation. In its

second proviso, Section 13(b) states: “Provided further, That in proper cases the Commission

may seek, and after proper proof, the court may issue, a permanent injunction.” As the Supreme

Court has explained, “the appearance of the words ‘permanent injunction’ (as a proviso) suggests

that those words are directly related to a previously issued preliminary injunction.” AMG Cap.,

141 S. Ct. at 1348. That conclusion flows from longstanding interpretive principles: “The

‘grammatical and logical scope’ of a proviso . . . ‘is confined to the subject-matter of the

principal clause’ to which it is attached.” Abbott v. United States, 562 U.S. 8, 25-26 (2010)

(quoting United States v. Morrow, 266 U.S. 531, 534-35 (1925)). The principal clause here lets

the FTC seek “a temporary restraining order or a preliminary injunction” only when tied to

administrative proceedings. The permanent-injunction proviso therefore necessarily conditions

the availability of a “permanent injunction” on the existence of those administrative proceedings.

Nothing in the statutory language or structure authorizes the FTC to institute federal court

litigation without any connection to an administrative proceeding.

               2.      Traditional Tools Of Statutory Interpretation Confirm That
                       Section 13(b) Requires Administrative Proceedings For
                       Injunctive Relief

       The FTC’s assertion of authority under Section 13(b) to institute litigation in this Court

independent of administrative proceedings also clashes with the provision’s context, the principle

of constitutional avoidance, and Section 13(b)’s own history.

       First, “statutory and historical context” show that Section 13(b) was not meant to provide

an end run around the FTC’s administrative proceedings. Whitman v. Am. Trucking Ass’ns, 531

U.S. 457, 471 (2001). Since its creation in 1914, the FTC has had the power to enforce the FTC

Act through administrative proceedings under Section 5. See 15 U.S.C. § 45. Given this long


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history, the Supreme Court has rejected the notion “that Congress, without mentioning the

matter, would have granted the [FTC] authority so readily to circumvent its traditional § 5

administrative proceedings” by bringing a federal court action under Section 13(b) instead.

AMG Cap., 141 S. Ct. at 1349. In AMG Capital, the Supreme Court held, “[i]n light of the

historical importance of administrative proceedings,” that allowing the FTC to go directly to

federal court to seek monetary relief without first engaging in administrative proceedings “would

allow a small statutory tail to wag a very large dog.” Id. at 1348-49. That logic applies here.

       Text and context instead confirm that Congress did not intend Section 13(b)’s permanent-

injunction proviso to create a “separate, parallel enforcement path[ ].” Id. at 1350; see Morrow,

266 U.S. at 535 (rejecting interpretation of proviso that would “introduce independent

legislation”). If Congress actually had intended to create such an alternative to the FTC’s

administrative proceedings, it would not have buried that massive expansion of enforcement

authority 213 words into a provision entitled “Temporary restraining orders; preliminary

injunctions.” See United States v. Moore, 71 F.4th 392, 397 (5th Cir. 2023) (“Titles . . . can be a

helpful tool for statutory interpretation.”). “Congress does not hide elephants in mouseholes.”

AMG Cap., 141 S. Ct. at 1349 (cleaned up) (quoting Whitman, 531 U.S. at 468). “Nor does

Congress typically use oblique or elliptical language to empower an agency to make a ‘radical or

fundamental change’ to a statutory scheme.” West Virginia v. EPA, 142 S. Ct. 2587, 2609

(2022) (citation omitted) ( “major questions doctrine” exists to address the “problem” of

“agencies asserting highly consequential power beyond what Congress could reasonably be

understood to have granted”).

       Second, accepting a broader interpretation of Section 13(b) “would raise serious

constitutional problems” that a narrower interpretation would avoid. Cargill v. Garland, 57




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F.4th 447, 471-72 (5th Cir. 2023) (en banc), cert. granted, 2023 WL 7266996 (Nov. 3, 2023).

As the Fifth Circuit has held in an analogous case involving the SEC, “the power to assign

disputes to agency adjudication is ‘peculiarly within the authority of the legislative

department.’ ” Jarkesy v. SEC, 34 F.4th 446, 461 (5th Cir. 2022) (quoting Oceanic Steam

Navigation Co. v. Stranahan, 214 U.S. 320, 339 (1909)), cert. granted, 143 S. Ct. 2688 (2023).

But under the FTC’s broad view of Section 13(b), Congress “gave the [agency] the unfettered

authority to choose whether to bring enforcement actions in Article III courts or within the

agency.” Jarkesy, 34 F.4th at 459; cf. FTC v. Shire Viropharma, Inc., 917 F.3d 147, 159 n.17

(3d Cir. 2019) (describing FTC argument that it has “unreviewable discretion to file suit” in

federal court under Section 13(b)). If that interpretation were correct, then under binding Fifth

Circuit precedent, “Congress unconstitutionally delegated legislative power to the [FTC]”

because it provided no “intelligible principle by which to exercise that power.” Jarkesy, 34 F.4th

at 459, 462; see id. at 459 n.9 (alternative holdings by the Fifth Circuit are binding precedent).

This Court should interpret Section 13(b) to avoid creating such a constitutional problem. 7

       Third, the FTC’s attempt to use Section 13(b) as authority for a standalone permanent-

injunction suit flouts Section 13(b)’s history. Congress enacted Section 13(b) in a last-minute

amendment to the Trans-Alaska Pipeline Act, which aimed to address a national energy crisis

created by a shortage of domestic crude oil. See Trans-Alaska Pipeline Act, Pub. L. No. 93-153,

87 Stat. 576 (1973); see 119 Cong. Rec. 36600 (1973). “There was no discussion of [the




       7
         Accepting a broad interpretation of Section 13(b) would also create the Article II
problem that Welsh Carson details in its motion to dismiss, which USAP joins and incorporates
by reference. If Congress granted the agency authority to sue for permanent injunctive relief in
federal district court, then it unconstitutionally vested executive law-enforcement power in an
agency whose members are not removable at will by the President. See Seila Law LLC v. CFPB,
140 S. Ct. 2183, 2191 (2020).


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permanent-injunction proviso] during the debate on the Trans-Alaska Pipeline Act.” Peter C.

Ward, Restitution for Consumers Under the Federal Trade Commission Act: Good Intentions or

Congressional Intentions?, 41 Am. U. L. Rev. 1139, 1178 (1992). “What little debate there was

evinces no indication that anyone understood [Section 13(b)] to do anything other than confer on

the agency the authority to seek injunctive relief to end practices while administrative

proceedings were on-going.” J. Howard Beales III & Timothy J. Muris, Striking the Proper

Balance: Redress Under Section 13(b) of the FTC Act, 79 Antitrust L.J. 1, 14-15 (2013); see

AMG Cap., 141 S. Ct. at 1346 (citing the Beales & Muris article). Given this enactment history,

the FTC’s “broad reading” of the permanent-injunction proviso, which “would allow it to use

§ 13(b) as a substitute for § 5,” “could not have been Congress’[s] intent.” AMG Cap., 141 S.

Ct. at 1349.

       The legislative history demonstrates that the permanent-injunction proviso was carefully

cabined. According to the Senate report accompanying the provision, Congress’s “purpose” in

enacting Section 13(b) was to “permit the Commission to bring an immediate halt to unfair or

deceptive acts or practices” that would otherwise “continue for several years until agency action

is completed.” S. Rep. No. 93-151, at 30 (1973) (emphasis added). Within this scheme, the

permanent-injunction proviso played a limited role: it aimed to solve the practical problem of

“when a court is reluctant to grant a temporary injunction because it cannot be assured of a[n]

early hearing on the merits.” Id. at 30-31. Rather than issue a preliminary injunction and then

wait years to judge the case on the merits—until after the administrative proceedings ran their

course—the court could “set a definite hearing date” for a permanent injunction. Id.

       Other appellate courts have ignored the plain language of Section 13(b). But the Fifth

Circuit has not addressed this issue, and this Court should be guided by the text of the statute.




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See Texas v. Nuclear Regul. Comm’n, 78 F.4th 827, 840-42 (5th Cir. 2023) (adopting plain-text

statutory interpretation and rejecting cases from other circuits that “assume[d] the Commission’s

authority without analyzing the statute”). In AMG Capital, “eight Circuits” had accepted the

FTC’s interpretation of Section 13(b), and none had rejected it. 141 S. Ct. at 1351. All nine

Justices rejected that interpretation because it was inconsistent with the plain language of the

statute. This Court can and should reach the same conclusion that the Supreme Court did in

AMG Capital: Section 13(b)’s plain meaning controls.

       B.      The FTC Lacks Statutory Authority To Challenge USAP’s Past Acquisitions
               Or Agreements

       The FTC acknowledges that it can maintain its suit in federal district court under Section

13(b) only if USAP is “violating or about to violate” the antitrust laws. Compl. ¶ 19. But the

complaint challenges conduct that ended years ago. USAP’s last Texas acquisition closed in

2020, see id. ¶ 112, its billing arrangement with Baylor College of Medicine “was terminated” in

2020, id. ¶ 203, and its contractual relationship with

see id. ¶ 214. The FTC’s contention that it may proceed because USAP continues to operate

long after those past actions have ceased contorts the statutory language and has been rejected by

many courts. The complaint should be dismissed for this reason as well.

               1.      Congress Authorized The FTC To Sue In Federal Court Only To Halt
                       Imminent Or Ongoing Violations Of Law

       Section 13(b) allows the FTC to “bring suit in a district court of the United States” only

when “any person, partnership, or corporation is violating, or is about to violate, any provision of

law enforced by the [FTC] . . . to enjoin any such act or practice.” 15 U.S.C. § 53(b). By its

plain terms, Section 13(b) “focuses upon relief that is prospective, not retrospective.” AMG

Capital, 141 S. Ct. at 1348 (emphasis added). It allows the FTC to proceed in federal district

court only in cases of an ongoing (“is violating”) or imminent (“is about to violate”) violation.


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See FTC v. AbbVie Inc., 976 F.3d 327, 376 (3d Cir. 2020) (“imminent or ongoing”); FTC v.

Credit Bureau Ctr., LLC, 937 F.3d 764, 772, 774 (7th Cir. 2019) (“ongoing and imminent future

violations”). The FTC cannot invoke Section 13(b) “to remedy a past violation.” FTC v. Evans

Prods. Co., 775 F.2d 1084, 1089 (9th Cir. 1985).

       Section 13(b)’s “unambiguous” and “clear text” “does not permit the FTC to bring a

claim based on long-past conduct without some evidence that the defendant ‘is’ committing or

‘is about to’ commit another violation.” Shire, 917 F.3d at 147, 150, 156. In Shire, the FTC

alleged only “a violation in the distant past and a vague and generalized likelihood of recurrent

conduct,” so it “fail[ed] to state a claim upon which relief can be granted.” Id. at 159, 161. The

FTC makes the same insufficient allegations here. 8

               2.      USAP’s Acquisitions And Contractual Arrangements Are Past
                       Conduct Not Cognizable Under Section 13(b)

       USAP’s long-closed acquisitions are past conduct. The FTC alleges that USAP’s

acquisitions all closed years ago. The FTC alleges that “[b]etween 2014 and 2020” USAP

“made the three Houston Tuck-In Acquisitions,” Compl. ¶ 349; “[b]etween 2015 and 2016” it

“made the six Dallas Tuck-in Acquisitions,” id. ¶ 374; and in 2013 and 2018 it made the “Austin

Acquisitions,” id. ¶ 390. USAP’s most recent challenged acquisition—of Guardian Anesthesia

Services—closed “[i]n January 2020.” Id. ¶ 112. USAP’s alleged acquisition conduct is

therefore beyond the scope of a Section 13(b) suit.




       8
         Shire should control here because it reflects a plain-text reading of Section 13(b). The
Fifth Circuit’s decision in FTC v. Southwest Sunsites, Inc., 665 F.2d 711 (5th Cir. 1982),
provides no reason to depart from Shire’s straightforward conclusion that Section 13(b) requires
either ongoing or imminent violations. There, the defendants’ “continuing” and “large-scale
systematic scheme tainted by fraudulent and deceptive practices” was “still in place,” id. at 723,
so the court did not weigh in on Section 13(b)’s imminence requirement.


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       Here, as in Shire, the FTC attempts to clear the statutory bar with a vague and conclusory

allegation that USAP’s conduct “remains ongoing.” Compl. ¶ 333. But such “a naked assertion

. . . without some further factual enhancement . . . stops short of the line between possibility and

plausibility.” Twombly, 550 U.S. at 557. A closed merger cannot “remain[ ] ongoing,” Comp.

¶ 333, because it is not a “continuing violation,” Complete Entm’t Res. LLC v. Live Nation

Entm’t, Inc., 2016 WL 3457177, at *1 (C.D. Cal. May 11, 2016). A merger is a “discrete act”

that is completed upon closing, “not an ongoing scheme”; “[o]nce the merger is completed, the

plan to merge is completed.” Reveal Chat Holdco, LLC v. Facebook, Inc., 471 F. Supp. 3d 981,

995 (N.D. Cal. 2020) (alteration in original) (quoting Midwestern Mach. Co. v. Northwest

Airlines, Inc., 392 F.3d 265, 271 (8th Cir. 2004)). As a result, federal courts have consistently

held that the continued operation of a company formed by an allegedly illegal acquisition is not

an “ongoing” or “continuing” violation of the antitrust laws. See, e.g., Z Techs. Corp. v. Lubrizol

Corp., 753 F.3d 594, 599, 604 (6th Cir. 2014) (collecting cases).

       Neither does the FTC plead facts raising a plausible claim that additional acquisitions in

Texas are imminent. It simply alleges that USAP might make future acquisitions. See Compl.

¶ 335 (“USAP continues to plan for acquisitions in Texas, as well as elsewhere, and is well-

positioned to continue its conduct.”). The complaint’s naked conclusion, with no factual

support, amounts only to “a vague and generalized likelihood of recurrent conduct.” Shire, 917

F.3d at 159. “If this were enough to make out a continuing violation, there would in effect be no

statute of limitations since a Section 7 challenge to the holding or use of assets could be brought

at any time.” Concord Boat Corp. v. Brunswick Corp., 207 F.3d 1039, 1052 (8th Cir. 2000).




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       USAP’s past acquisitions are all beyond the reach of Section 13(b). The Court should

therefore dismiss the FTC’s “roll-up” claims, Counts II, V, and VII. The Court should also

dismiss Counts I, III, IV, VI, and VIII to the extent that they depend on acquisition conduct.

       USAP’s billing services for Baylor College of Medicine is past conduct. The FTC

acknowledges that USAP’s administrative services arrangement with Baylor College of

Medicine “was terminated” in 2020. Compl. ¶ 203. The FTC does not allege that USAP is

imminently about to enter into any additional agreement to provide administrative billing

services. And the FTC’s allegation that USAP has not “offered any assurances against engaging

in similar conduct in the future,” id. ¶ 335, is plainly inadequate. See Shire, 917 F.3d at 160

(“vague allegations” of restarting terminated conduct do not plausibly support finding that a

defendant is “about to” restart that conduct). The FTC does not allege that USAP has taken any

steps or made any plans to reinstate its past arrangement with Baylor College of Medicine or that

it is still providing services at the same hospital, so it cannot establish an imminent violation.

       The Court should dismiss Counts I, III, and IX to the extent that they depend on the past

agreement with Baylor College of Medicine.

       USAP’s contract with                                 . is past conduct. The FTC alleges that

USAP and                               . had a contractual relationship

Compl. ¶ 214.




                       And the FTC does not even attempt to plausibly allege that a similar

agreement is likely to recur. The Court should therefore dismiss Count X.




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                                          *       *       *

        Section 13(b) limits the FTC’s power to proceed in this Court. In two distinct respects,

the FTC has attempted to expand that authority beyond what Congress provided. The Court

should dismiss the FTC’s overreaching complaint.

II.     THE COMPLAINT FAILS TO ALLEGE PLAUSIBLE ANTITRUST CLAIMS

        A.      The FTC Fails To Plausibly Allege A Relevant Market

        It is axiomatic that an antitrust case like this one requires enough pleaded facts to

establish both a geographic market and a product market in which the defendant competes.

Without “an accurate definition of the relevant market” that outlines “the area of effective

competition” for the defendant’s product and “reflects commercial realities,” there is “no way to

measure” whether the defendant has any “ability to lessen or destroy competition” and harm the

consumers the antitrust laws are designed to protect. Ohio v. Am. Express Co., 138 S. Ct. 2274,

2285 (2018) (citations omitted); see Apani Sw., Inc. v. Coca-Cola Enters., Inc., 300 F.3d 620,

628 (5th Cir. 2002) (relevant market must be defined for Sherman Act and Clayton Act claims);

Shah v. VHS San Antonio Partners, L.L.C., 985 F.3d 450, 453-54 (5th Cir. 2021) (relevant

market necessary for both Sherman Act Sections 1 and 2).

        Whether a relevant market has been alleged “may be determined as a matter of law.”

Apani, 300 F.3d at 628. As the Fifth Circuit has explained, “[w]here the plaintiff [1] fails to

define its proposed relevant market with reference to the rule of reasonable interchangeability

and cross-elasticity of demand, or [2] alleges a proposed relevant market that clearly does not

encompass all interchangeable substitute products even when all factual inferences are granted in

plaintiff ’s favor, the relevant market is legally insufficient, and a motion to dismiss may be

granted.” Id.




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        Courts regularly dismiss antitrust complaints where the plaintiff ’s proposed market

definition is unsupported by factual allegations that justify its asserted boundaries. See, e.g.,

Queen City Pizza, Inc. v. Domino’s Pizza, Inc., 124 F.3d 430, 436-37 (3d Cir. 1997) (affirming

dismissal where “the relevant market [was] legally insufficient” because plaintiff “fail[ed] to

define” it “with reference to the rule of reasonable interchangeability and cross-elasticity of

demand”). The FTC’s complaint provides a laundry list of reasons why “hospital-only

anesthesia services” are supposedly distinct. But all of them reduce to the irrelevant tautology

that “hospital-only anesthesia services” must be provided in hospitals. See Compl. ¶ 176

(“Specifically, all hospital-only anesthesia services require patients to receive care in a hospital

setting.”); id. ¶ 220 (“Patients requiring hospital-only services must receive that service in a hospital

setting and cannot obtain it elsewhere”); id. ¶ 222. Conspicuously absent from the complaint are

any supporting allegations regarding reasonable interchangeability (what can be substituted for

the relevant service) or cross-elasticity of demand (where consumers will go if prices rise). That

alone compels dismissal. See NSS Labs, Inc. v. Symantec Corp., 2019 WL 3804679, at *9 (N.D.

Cal. Aug. 13, 2019) (dismissing antitrust claims for improper market definition where the

plaintiff “fail[ed] to identify the economic substitutes for the product markets” and did not “plead

any facts regarding the cross-elasticity of demand”).

        Besides this pleading failure, the FTC’s “hospital-only” market definition “clearly does

not encompass all interchangeable substitute products.” Apani, 300 F.3d at 628. While licensed

anesthesiologists may work in inpatient or outpatient hospital settings, as well as other outpatient

settings (such as ambulatory surgical centers), the FTC fails to allege any distinction between the

nature of the services provided in these settings. Indeed, the FTC expressly concedes that “the

anesthesia services that form the hospital-only services may be performed by the same providers




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as other services.” Compl. ¶ 222. In other words, trained anesthesiologists can provide services

to patients in hospitals regardless of where those anesthesiologists typically practice—in

hospitals, in outpatient surgery centers (whether at hospitals or external to them), or in medical

offices. The FTC claims that doctors who practice at any hospital, not just the doctors who

practice at the hospital where the patient undergoes surgery, are competitors in the alleged

relevant market. See id. ¶ 217. Yet doctors of equal skill and training who currently locate their

practice in other non-hospital facilities are supposedly not competitors, even though they are

fully capable of providing the same services.

       This is both implausible on its face and unsupported by any facts. Anesthesiologists who

are located in various settings—not just hospitals—have the actual or potential ability to take

cases away from hospital-based physicians. As such the FTC’s alleged market does not

“encompass[ ] the group or groups of sellers or producers who have actual or potential ability to

deprive each other of significant levels of business,” Hicks v. PGA Tour, Inc., 897 F.3d 1109,

1120-21 (9th Cir. 2018) (citation omitted). The FTC’s market definition is therefore inadequate

because the availability of “non-hospital”-based anesthesiologists “restrains [USAP’s] ability to

raise prices above the competitive level.” Madison 92nd St. Assocs. v. Courtyard Mgmt. Corp.,

624 F. App’x 23, 28 (2d Cir. 2015) (citation omitted).

       The FTC has several arguments—not facts—for its obviously crabbed market definition.

It claims, first, that some patients need to be treated in hospitals. But that says nothing about

which anesthesiologists can provide the requisite care in any particular hospital. If doctors from

other hospitals can also provide that care, there is no basis for excluding from the relevant

market doctors with the same expertise who are practicing in non-hospital settings. All may be

acceptable substitutes; the complaint contains no facts that suggest otherwise. Moreover, the




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FTC does not allege, and cannot allege, that insurers prevent hospitals from employing fully

credentialed anesthesiologists at lower cost, merely because they do not currently practice at a

hospital. If, contrary to the FTC’s theory, insurers are the relevant consumers in this market and

have the power to dictate who provides what service to patients, then plainly the power lies with

insurers and the FTC’s allegations of monopolization by USAP are entirely misdirected.

       Courts, and the Fifth Circuit in particular, have routinely rejected artificial market

definitions similar to the FTC’s litigation-driven definition here. For instance, in Shah, the

plaintiff attempted to define a market for “pediatric anesthesia services” provided at a handful of

facilities within an eight-county radius. See Shah, 985 F.3d at 454. The Fifth Circuit found the

plaintiff ’s proposed market “insufficient as a matter of law” because it failed to “encompass all

interchangeable substitute products.” Id. at 455 (emphasis in original). The same is true here.

By limiting the market to “hospital-only” anesthesia services, the FTC has artificially excluded

the large population of “non-hospital” anesthesiologists capable of providing the same services,

without facts establishing a plausible basis for that exclusion. The FTC has thereby scrubbed its

proposed market of “reasonably interchangeable substitutes,” rendering it “unduly narrow and

legally insufficient.” New Orleans Ass’n of Cemetery Tour Guides & Cos. v. New Orleans

Archdiocesan Cemeteries, 56 F.4th 1026, 1038 (5th Cir. 2023) (affirming dismissal of antitrust

complaint on that ground).

       The FTC’s proposed market definition is simply not plausible. Because “the anesthesia

services that form the hospital-only services may be performed by the same providers as other

[outpatient] services,” Compl. ¶ 222, the FTC’s proposed market for “commercially insured

hospital-only anesthesia services” is “plainly designed to bolster” its claims “by artificially




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exaggerating [USAP’s] market power.” It’s My Party, 811 F.3d at 683. Dismissal of the

complaint is therefore required.

       B.      The FTC Fails To Plausibly Allege Monopoly Power

       The FTC’s Sherman Act Section 2 claims (Counts I, III, IV, and VI) require the assertion

of facts making out a plausible claim that USAP has a monopoly position in a relevant antitrust

market. As discussed above, the FTC’s market allegations are insufficient. But equally

insufficient are its claims that USAP has monopoly power, a sine qua non of any Section 2

monopolization claim. See Eastman Kodak Co. v. Image Tech. Servs., 504 U.S. 451, 481 (1992);

Abraham & Veneklasen Joint Venture v. Am. Quarter Horse Ass’n, 776 F.3d 321, 334 (5th Cir.

2015) (Section 2 monopolization claim requires showing that defendant “possesses monopoly

power in the relevant market”) (citing Stearns Airport Equip. Co. v. FMC Corp., 170 F.3d 518,

522 (5th Cir. 1999)).

       Monopoly power is the power to raise price above a competitive level, to restrict output

(to the same effect), or to reduce quality below a competitive level. See, e.g., Taylor v. Christus

St. Joseph Health Sys., 216 F. App’x 410, 412 (5th Cir. 2007); see also Rambus, 522 F.3d at 466.

The FTC does not allege that USAP either restricted output or reduced quality in any way. The

FTC does claim that prices have increased. See Compl. ¶ 319. But the dispositive fact is that the

complaint lacks any claim that USAP raised prices “above the competitive level,” Abraham, 776

F.3d at 335, after it supposedly attained a monopoly through its “roll-up” of anesthesia practices

in Texas.

       Indeed the pricing history recounted in the complaint alleges the opposite of what the

FTC needs to plead and prove. It establishes that, at all relevant times, USAP has functioned in a

highly competitive marketplace that sets prices based on individualized negotiations. The FTC

does not allege that USAP has extracted a monopoly price from any purchaser. On the contrary,


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it has struggled to maintain the contractually agreed prices that a predecessor, non-monopolist

provider (GHA) negotiated prior to its acquisition by USAP. The FTC’s allegations merely

establish that USAP has sought payment at the prices previously agreed by GHA and payors—

except for instances in which it has been unable to charge even those prices. See, e.g., Compl.

¶ 318 (acknowledging that “USAP’s rates decreased” pursuant to renegotiation after United took

USAP out of network).9

       The FTC’s only pricing allegations in the complaint pertain to a series of “Tuck-In

Acquisitions” by which USAP acquired a number of smaller anesthesiology practices in Houston

and Dallas following its anchor purchase of Greater Houston Anesthesiology in December 2012.

See, e.g., Compl. ¶¶ 102-115 (describing USAP’s “roll-up” of the Houston market by acquiring

North Houston Anesthesiology’s Kingwood Division, MetroWest Anesthesia Care, and

Guardian Anesthesia Services). Rather than alleging that USAP followed these acquisitions by

raising prices to supracompetitive levels, the FTC claims that USAP “tucked in” these acquired

practices to the preexisting rates that GHA had negotiated with the commercial insurers. 10 See

id. ¶ 107 (“Following the acquisition, USAP raised NHA Kingwood’s reimbursement for the

same anesthesia providers to its own contracted rate” (emphasis added)); see also id. ¶ 111

(same for MetroWest Anesthesia Care); id. ¶ 115 (same for Guardian Anesthesia Services). And


       9
         The recent passage of the federal No Surprises Act, which the FTC references in its
complaint, Compl. ¶ 74, directly undermines its claim that USAP possesses monopoly power.
By requiring mandatory arbitration for disputes between providers and insurers over out-of-
network rates, the Act denies USAP significant leverage in its negotiations with insurers. It is
doubtful whether any provider could exercise monopoly power—“the ability to charge a price
above the competitive level,” Abraham, 776 F.3d at 335—in the teeth of these statutory
protections for patients and insurers. At a minimum, against the backdrop of the No Surprises
Act, the FTC’s allegation of USAP’s monopoly power is simply not “plausible.” See Twombly,
550 U.S. at 570.
       10
          Indeed, the FTC’s own allegations confirm that, from 2013 to 2020, USAP’s rates have
only increased by roughly % per year. See Compl. ¶ 118.


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at the time of the USAP acquisition of GHA in December 2012, GHA only had a 39% share of

the FTC’s own gerrymandered market definition of “commercially insured hospital-only

anesthesia services” in Houston. Id. ¶ 266. In other words, the FTC’s only alleged fact

regarding monopoly power is that, after acquiring small anesthesiology practices, USAP raised

the rates of some but not all of those anesthesiologists to the prevailing market rate for their

services, as it was contractually permitted to do under agreements that were negotiated at arms-

length with sophisticated commercial payors by USAP’s concededly non-monopolist

predecessor GHA.

       An alleged monopolist that cannot charge more than a competitive price, restrict output to

the same effect, or reduce quality below competitive levels is no monopolist at all. The

complaint contains no such allegations, and the FTC has therefore failed to plead facts “plausibly

suggesting” USAP’s “possession of monopoly power.” Twombly, 550 U.S. at 557; Eastman

Kodak, 504 U.S. at 481. To the contrary, the facts that the FTC has alleged soundly refute any

“presumption” of monopoly power created by the allegedly high share held by USAP in the

gerrymandered “hospital-only” anesthesiology services market. For the reasons set forth above,

those facts establish that USAP does not have monopoly power, and accordingly cannot be

subject to the FTC’s monopolization claims under section 2 of the Sherman Act.

       C.      The FTC Fails To Plausibly Allege Exclusionary Conduct

       The FTC’s Sherman Act Section 2 claims (Counts I, III, IV, and VI) fail for the

additional reason that the complaint contains no cognizable allegations of exclusionary conduct.

As the Supreme Court has made clear, “the possession of monopoly power will not be found

unlawful unless it is accompanied by an element of anticompetitive conduct.” Verizon

Commc’ns Inc. v. Law Offices of Curtis V. Trinko, LLP, 540 U.S. 398, 407 (2004); see Abraham,

776 F.3d at 334 (“Having or acquiring a monopoly is not in and of itself illegal.”)


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       The FTC’s principal allegation of exclusionary conduct is that USAP obtained a

monopoly by acquiring several anesthesia practices throughout Texas, consolidated these

providers under the USAP umbrella, and thereby increased its market share. 11 No court has ever

held that acquisition-based allegations similar to these amount to a plausible claim of actionable

exclusionary conduct under Section 2. Acquisitions, including acquisitions of competitors,

support no presumption of anticompetitive effect because such acquisitions often increase

competition and benefit consumers. See Eastman v. Quest Diagnostics Inc., 2016 WL 1640465,

at *9 (N.D. Cal. Apr. 26, 2016) (“plaintiffs cannot rely on the fact of the acquisitions alone”),

aff ’d, 724 F. App’x 556 (9th Cir. 2018); Dresses for Less, Inc. v. CIT Grp./Com. Servs., Inc.,

2002 WL 31164482, at *12 (S.D.N.Y. Sept. 30, 2002) (“[T]he mere fact that a merger eliminates

competition between the firms concerned has never been a sufficient basis for illegality.”)

(quoting IV Phillip E. Areeda et al., Antitrust Law ¶ 901a (1998)). This is particularly true when

an established firm acquires a fledgling competitor: there are obvious opportunities for benefits

not only to the acquiring company, but also to consumers. See Dresses for Less, 2002 WL

31164482, at *12 (“horizontal mergers are much more likely to be procompetitive than

anticompetitive”); Phillip E. Areeda & Herbert Hovenkamp, Antitrust Law ¶ 901a (2023)

(competitors may merge “to achieve synergies in the production or distribution of

complementary goods, to put inefficiently run assets into the hands of superior management”).




       11
           The FTC also points to USAP’s supposed “price-setting arrangements” and “market
allocation agreement” with             as further instances of exclusionary conduct. But the
“price-setting arrangements” are wholly valid for the reasons explained in Part II.E, infra, and
the                        , entered into in connection with the sale of an anesthesia practice, is
long-past conduct that the FTC may not challenge via this Section 13(b) court proceeding, see
Part I.B, supra.


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       Only in rare circumstances not alleged here have acquisitions of competitors been held to

be exclusionary under Section 2. For example, in the historic American Tobacco case, the

Supreme Court condemned the defendant’s serial acquisition of rivals’ assets solely to shut them

down and make them unavailable for competition. See United States v. Am. Tobacco Co., 221

U.S. 106, 183 (1911) (Section 2 violation where defendant spent “millions upon millions of

dollars in buying out plants, not for the purpose of utilizing them, but in order to close them up

and render them useless for the purposes of trade”); see also United States v. Am. Can Co., 230

F. 859, 875 (D. Md. 1916) (Section 2 violation where monopolist shut down two-thirds of the

plants it acquired within two years of their purchase). But the FTC has made no such allegations

here—indeed it has alleged precisely the opposite. The complaint describes USAP’s plan to

consolidate a handful of compatible anesthesiology practices, but “to supply hospitals with

generally the same providers as before.” Compl. ¶ 99. The FTC therefore has no basis to claim

exclusionary conduct by virtue of the alleged acquisitions alone.

       Moreover, actionable exclusionary conduct must have an “anticompetitive effect,” that is,

“it must harm the competitive process and thereby harm consumers.” Rambus, 522 F.3d at 463;

see also United States v. Microsoft Corp., 253 F.3d 34, 58, 79 (D.C. Cir. 2001) (preventing

distribution of rival browsers on third-party PCs prevented competition on the merits in the PC

operating system market). But the FTC’s complaint contains no plausible allegation that

USAP’s acquisitions caused harm to competition or consumers in any measurable way. As

explained above, the FTC nowhere alleges that USAP’s rates themselves have increased above a

competitive level as a consequence of its acquisitions. And its core allegation—that the newly

acquired practices were “tucked in” at USAP’s existing rates, see, e.g., Compl. ¶ 107—merely

reflects the extension of market rates negotiated at arms-length by a non-monopolist.




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       The FTC states, in conclusory fashion, that USAP’s acquisitions have increased prices for

anesthesia services. But given the concrete facts alleged in the complaint regarding USAP’s

pricing practices (as discussed above), the FTC’s claims of market-wide harm are unfounded,

contrary to the admitted fact that USAP has never charged more than a competitive price and,

even without all that, purely speculative. See Twombly, 550 U.S. at 555 (conclusions must be

disregarded); Roy B. Taylor Sales, Inc. v. Hollymatic Corp., 28 F.3d 1379, 1385 (5th Cir. 1994)

(“Speculation about anticompetitive effects is not enough.”). The FTC has failed to allege any

facts regarding USAP’s “exercise[ ] [of] its power to control prices or exclude competitors from

the relevant market for its products,” Abraham, 776 F.3d at 334, and thus has not alleged the

“element of anticompetitive conduct” that a Section 2 monopolization claim requires, Trinko,

540 U.S. at 407. Counts I, III, IV, and VI should therefore be dismissed.

       D.      The FTC Fails To Plausibly Allege A Violation Of The Clayton Act

       The FTC’s Clayton Act claims (Counts II, V, and VII) also fail. “To state a claim under

Section 7, a complaint must define the relevant market and demonstrate the probability of

anticompetitive results flowing from the challenged merger or acquisition.” David B. Turner

Builders LLC v. Weyerhaeuser Co., 603 F. Supp. 3d 459, 466 (S.D. Miss. 2022) (citing Domed

Stadium Hotel, Inc. v. Holiday Inns, Inc., 732 F.2d 480, 491-92 (5th Cir. 1984)), aff ’d, 2023 WL

2401587 (5th Cir. Mar. 8, 2023). The FTC’s market definition is deficient for the reasons stated

above, and the Section 7 claims fail for the same reasons as the Section 2 claims fail.

       But the FTC’s Section 7 claims further require dismissal because the acquisitions

described in the complaint are not alone sufficient to state a claim, given the absence of any

factual allegations establishing consumer or competitive harm “flowing from” these acquisitions.

Turner Builders, 603 F. Supp. at 466 (dismissing section 7 claim where complaint did “not

provide any facts to plausibly suggest the probability of anticompetitive results” from the


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acquisitions in question). Unlike a typical Section 7 case, where courts have to speculate about

potential harm to consumers from a challenged acquisition, here there is no need to speculate.

These acquisitions have already taken place (some more than a decade ago), yet the FTC does

not (because it cannot) allege that consumers have sustained any cognizable harm as a result of

USAP’s expanded ability to provide critical care in hospitals throughout Texas. That is, as

explained infra, the acquisitions have not led to prices above competitive levels.

       E.      The FTC Fails To Plausibly Allege A Price-Fixing Agreement

       The FTC’s price-fixing claim (Count IX) fails because the complaint does not allege the

most basic ingredient of such a claim: an agreement among competitors to fix prices. To

establish a violation of Section 1 of the Sherman Act, “a plaintiff must show that the defendant

(1) engaged in a conspiracy (2) that restrained trade (3) in a particular market.” BRFHH

Shreveport, LLC v. Willis-Knighton Med. Ctr., 49 F.4th 520, 525 (5th Cir. 2022) (cleaned up)

(quoting MM Steel, L.P. v. JSW Steel (USA) Inc., 806 F.3d 835, 843 (5th Cir. 2015)). For

purposes of the first element, “[t]he crucial question is whether the challenged anticompetitive

conduct stems from independent decision or from an agreement, tacit or express.” Id. at 526

(quoting Twombly, 550 at 553 (emphasis in original)). At the pleading stage, it is the plaintiff ’s

burden to make “allegations plausibly suggesting (not merely consistent with) agreement.” Id. at

528 (quoting Twombly, 550 U.S. at 557).

       Count IX of the FTC’s complaint alleges a violation of Section 1 of the Sherman Act

based on USAP’s “[h]orizontal [a]greements [with other anesthesiology practices] to [b]ill [for

anesthesiology services] at a [f]ixed [p]rice.” That claim should be dismissed because the FTC

has not plausibly alleged an “agreement” between USAP and competing anesthesiology practices

to fix prices for their anesthesia services. The “agreements” that the FTC labels “price-setting

arrangements” for purposes of this claim are in fact contracts to provide back-office,


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administrative services. USAP performs these functions for its own anesthesiologists, but not all

anesthesiology practices do. For that reason, three smaller anesthesiology practices contracted

with USAP or its predecessors to obtain reimbursement from payors on their behalf. The

provider groups “assign[ ] to [USAP] any right to bill and receive payment from patients and

payors for services rendered.” Compl. ¶ 184. USAP then “bill[s] payors for the anesthesia

services rendered by” the client provider groups “using USAP’s own provider or tax

information,” obtains reimbursement from payors, and then “[pays] the non-USAP”

anesthesiologists, typically retaining “some portion” of the reimbursement amount as

compensation for the administrative services it has performed. Id. ¶ 176. USAP also provides

two hospitals (and used to provide one hospital) with certain other ancillary services related to

billing and reimbursement.12

       The FTC concedes that anesthesiologists at the three relevant hospitals are (or were)

compensated at different reimbursement rates than USAP’s. See, e.g., id. ¶ 203 (“USAP paid

Baylor College of Medicine                                for its anesthesia providers’ time.”); id.

¶ 196 (alleging that USAP “compensat[ed] Dallas Anesthesiology Associates . . . based on [that]

group’s billing rate at Baylor University Medical Center”). Thus, not only does the FTC fail to

allege the existence of an agreement between USAP and its competitors setting prices for

anesthesia services, its own allegations expressly confirm that USAP and the other

anesthesiology practices at issue continued to offer their anesthesia services at different prices.

That these other practices assign their right to payment to USAP, see, e.g., id. ¶ 184, and that




       12
          For instance, the FTC alleges that Pinnacle’s administrative services practice (later
acquired by USAP) maintained a customer service phone number that Pinnacle’s back-office
staff would answer on behalf of another practice, Dallas Anesthesiology Associates. See id.
¶ 195.


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USAP uses its own tax and provider information to obtain reimbursement from payors, see, e.g.,

id. ¶ 176, do not constitute an “agreement” to fix prices that is the “crucial” requirement of the

FTC’s Section 1 claim, see Twombly, 550 U.S. at 553.

       The FTC challenges USAP’s administrative services business for several reasons, but

none of them cures this fatal deficiency with the FTC’s price-fixing claim. The FTC complains

that USAP’s administrative services contracts “made it appear to payors as if USAP was doing

the work of the other group’s anesthesia providers,” id. ¶ 176; that USAP “could have

cooperated with other providers” by “hir[ing] them as subcontractors,” id. ¶ 178; that USAP’s

reimbursement practices might breach its insurer contracts due to “compliance issues related to

pass through billing,” id. at ¶ 179; and that USAP was pleased that its administrative service

business allowed it to “collect[ ] a nice margin,” id. at ¶ 196. None of these concerns have merit.

But the more important point here is that none of these objections to USAP’s business practices

so much as reference the horizontal price-fixing agreement that the FTC’s Section 1 claim

requires, let alone constitute “allegations plausibly suggesting (not merely consistent with) [that]

agreement.” Twombly, 550 U.S. at 557.

       Ultimately, the FTC’s own account of USAP’s administrative services business concedes

the absence of the price-fixing agreement that its Section 1 claim requires. The FTC alleges that

USAP’s administrative services contracts “effectively raised the reimbursement rates of the non-

USAP providers up to USAP’s much higher rates,” Compl. ¶ 176 (emphasis added), and that

they “functioned the same as an agreement between USAP and the non-USAP providers to

charge the higher USAP rates,” id. ¶ 177 (emphasis added). But the FTC does not allege that

non-USAP providers actually charged the same rates for their anesthesia services as USAP

providers did, and it does not allege that USAP actually entered into an agreement with




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competing anesthesiology providers to fix prices for anesthesia services. Nor can it, because no

such agreement has ever existed. Because the FTC has not even alleged a price-fixing

agreement, it has failed to “nudge[ ] [its price fixing claim] across the line from conceivable to

plausible,” Twombly, 550 U.S. at 570, and Count IX must therefore be dismissed. See, e.g.,

BRFHH Shreveport, 49 F.4th at 525 (dismissing Section 1 claim because plaintiff failed to

plausibly allege an “agreement” to fix prices for healthcare services).

       F.      The FTC Fails To Plead A Valid Conspiracy Claim

       USAP hereby incorporates by reference Section III.C of Welsh Carson’s motion to

dismiss. See WC Mot. Section III.C. Independent of the reasons stated above, the FTC’s

conspiracy claims in Counts III and VI must be dismissed because Welsh Carson and USAP

were not separate economic entities and were thus incapable of conspiring as a matter of law

under Copperweld, 467 U.S. at 770-71. See, e.g., Surgical Care Ctr. of Hammond, L.C. v. Hosp.

Serv. Dist. No. 1 of Tangipahoa Parish, 309 F.3d 836, 840-41 (5th Cir. 2002) (“as a matter of

law, a corporation and its agent . . . are incapable of conspiring with one another to violate the

antitrust laws”). The FTC all but concedes as much, repeatedly alleging that Welsh Carson and

USAP were functionally indistinguishable, not distinct actors with disparate economic

objectives. See Compl. ¶¶ 35, 37, 39, 40, 345, 351, 370, 376, 392, 400, 406, 411. Counts III and

VI must therefore be dismissed. 13
                                 12F




                                         CONCLUSION

       The Court should dismiss the FTC’s complaint in its entirety.



       13
         The FTC’s claims under Section 5 of the FTC Act are merely derivative of the FTC’s
claims under the Sherman Act and Clayton Act, and therefore require dismissal on any of the
grounds enumerated above. See 1-800 Contacts, Inc. v. FTC, 1 F.4th 102, 122 (2d Cir. 2021)
(where conduct does “not constitute a violation of the Sherman Act . . . an asserted violation of
the FTC Act fails of necessity”).


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Dated: November 20, 2023                     Respectfully submitted,

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                                   CERTIFICATE OF SERVICE

       I hereby certify that on November 20, 2023, I filed the foregoing document with the

Court and served it on opposing counsel through the Court’s CM/ECF system. All counsel of

record are registered ECF users.


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